         Case 1:20-cr-00015-PKC Document 122 Filed 07/17/21 Page 1 of 2




                                                                        Author’s Direct Dial No.
                                                                                 (213) 314-5284

VIA ECF                                                                 Author’s Email Address
                                                                     kaxel@waymakerlaw.com
July 16, 2021

Honorable P. Kevin Castel
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

Re:    United States v. Virgil Griffith,
       20 Cr. 015 (PKC)

Dear Judge Castel:

We write to supplement the opposition filed earlier today to the government’s July 9, 2021 letter
motion requesting to revoke Mr. Griffith’s bond. (See Dkt. Nos. 119 and 121.) Within an hour
of the defense’s filing today, the government produced new discovery, including certain
Coinbase records related to the government’s remand request. The defense does not know if the
government’s Coinbase production is complete, but we write to the Court out of concern that the
government’s letter motion omitted critical information that could give a misleading impression
of the facts.

The government claimed that Mr. Griffith stated in an electronic message to Coinbase:

       I presume my account was restricted due to the pending litigation against
       me. My lawyers now tell me that it is permitted for me to access my
       cryptocurrency on [the Exchange] . . . Related: I’m going to need the 2FA
       [two-factor authentication] removed as the FBI took my devices away.

(Dkt. No. 119 at 1.) The ellipses, however, paint an inaccurate picture of that communication
that undermines the government’s motion. Specifically, the ellipses omit language that expressly
alerted Coinbase to the fact that Mr. Griffith’s attorney was involved and was available to
facilitate the account inquiry. The full message states:

       I presume my account was restricted due to the pending litigation against
       me. My lawyers now tell me that it is permitted for me to access my
       cryptocurrency on coinbase. If you’d like you can speak to her, Keri
       Axel, at kaxel@waymakerlaw.com. You can also reach me at [email
         Case 1:20-cr-00015-PKC Document 122 Filed 07/17/21 Page 2 of 2

                                                                             Hon. P. Kevin Castel
                                                                                      Page 2 of 2


       address] or via phone [telephone number]. Related: I’m going to need the
       2FA [two-factor authentication] removed as the FBI took my devices
       away.

(USAO_009037 (Emphasis added).)

The defense respectfully submits that the government’s exclusion of the italicized language was
deceptive because the elided information plainly contradicts the government’s claim that the
Coinbase account bore on risk of flight. The full communication shows the intent was to
expressly alert Coinbase that there was a pending criminal case and that defense counsel was
available to discuss the issue with Coinbase. By alerting Coinbase to the status of his case and
providing contact information for his counsel, Mr. Griffith did not seek to hide the fact of this
case or shirk any court order. As noted in the defense opposition, the undersigned counsel, of
course, would have sought to effect access to Mr. Griffith’s funds in a way that complied with
the pretrial release conditions (and did so once contacted by Coinbase).

After receiving and reviewing this belated government production, which—in what can hardly
be a coincidence—came in after the defense filed its opposition brief, the defense promptly
asked the government to produce any remaining records by close of business today. The
government did not respond.

While the defense regrets any misunderstandings that may have occurred here, this
communication, which the government attempted to put before the Court without the full and
proper context, only provides further support that there is no connection between this issue and
flight risk, and Mr. Griffith should not be remanded.

Respectfully yours,



Brian E. Klein
Keri Curtis Axel
Waymaker LLP

Sean S. Buckley
Kobre & Kim LLP

Attorneys for Virgil Griffith
